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  11
                             UNITED STATES DISTRICT COURT
  12
                            CENTRAL DISTRICT OF CALIFORNIA
  13
                                      WESTERN DIVISION
  14
  15
  16    LEE WIGOD, individually and on be-       Case No. 2:19-cv-02874-SVW-MAA
        half of all others similarly situated,
  17                                             Assigned to Hon. Stephen V. Wilson
                       Plaintiff,
  18                                             DEFENDANT’S REPLY TO
              v.                                 PLAINTIFF’S OPPOSITION TO
  19                                             MOTION TO DISMISS
        CALLFIRE, INC.,
  20                                             Hearing Date: July 15, 2019
                       Defendant.
                                                 Time:      1:30 P.M.
  21                                             Place:      10A
  22
                                                 Complaint filed: April 15, 2019
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                                                       CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
                                                          OPPOSITION TO MOTION TO DISMISS
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    1                                     INTRODUCTION
    2         In his Response in Opposition to CallFire, Inc.’s (“CallFire”) Motion to Dis-
    3   miss (“Opposition” or “Opp.”), Plaintiff simply repeats the same failed legal theories
    4   he advanced in his Complaint, but repetition cannot salvage his case. Plaintiff admits
    5   throughout his Opposition that, in case after case, CallFire has been found to have no
    6   Telephone Consumer Protection Act (“TCPA”) liability, and yet he somehow expects
    7   a different result in this materially indistinguishable case. Plaintiff’s primary argu-
    8   ment is that his claims satisfy Rule 12(b)(6)’s minimum plausibility threshold, and
    9   thus the actual facts supporting his legal theories can be sorted out later, after sub-
  10    jecting CallFire to costly discovery. Rule 12(b)(6)’s pleading standard, however, is
  11    designed to protect meritorious claims that would be difficult to prove short of dis-
  12    covery; it is not meant to shield frivolous and conclusory allegations like Plaintiff’s
  13    from dismissal. Plaintiff is attempting to force CallFire, yet again, to defend itself
  14    against the very same TCPA claims it has already successfully—and repeatedly—
  15    defeated. But Plaintiff’s Complaint is legally and factually insufficient, and it must
  16    be dismissed.
  17                               SUMMARY OF ARGUMENT
  18          In his sparse Opposition, Plaintiff has proffered no law or facts sufficient to
  19    sustain his Complaint. CallFire is immune from Plaintiff’s TCPA claims for three
  20    independent reasons: (1) CallFire does not initiate text messages; (2) CallFire is not,
  21    and does not use, an ATDS; and (3) CallFire is a common carrier.
  22          First, Plaintiff does not dispute that only initiators of messages can have TCPA
  23    liability. CallFire neither initiates messages nor has a high degree of involvement in
  24    sending them. In fact, the key case upon which Plaintiff relies to support his argu-
  25    ment on this point found that Callfire did not have a sufficient degree of involvement
  26    to be held liable under the TCPA. See infra Part I.
  27          Second, Plaintiff has not satisfied his burden of pleading the use of an ATDS.
  28    See infra Part II. In a last ditch effort to bolster his Complaint, Plaintiff’s Opposition
                                                            CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
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    1   introduces novel ATDS allegations, which, of course, this Court cannot consider.
    2   But even if it could, CallFire is not an ATDS as a matter of law.
    3         Third, Plaintiff utterly fails to dispute CallFire’s status as a common carrier
    4   that is immune from TCPA liability. And despite Plaintiff’s convoluted argument to
    5   the contrary, none of the exceptions to common carrier immunity apply to CallFire:
    6   CallFire does not have a high degree of involvement in sending text messages and
    7   does not receive actual notice of any allegedly illegal uses of its services.
    8         For all of these reasons, Plaintiff’s Complaint remains insufficient as a matter
    9   of law, and it should accordingly be dismissed with prejudice.
  10                                         ARGUMENT
  11    I.    PLAINTIFF DOES NOT—AND CANNOT—ALLEGE THAT CALL-
  12          FIRE INITIATED THE TEXT MESSAGES AT ISSUE IN THIS CASE
              Plaintiff wisely does not dispute the fact that only the initiator of a call can
  13
        incur TCPA liability. Instead, he attempts to dress up his legal conclusions as factual
  14
        allegations in an attempt to meet his burden of pleading. But as Plaintiff himself
  15
        acknowledges, see Opp. at 8–9, this Court is not bound by Plaintiff’s legal conclu-
  16
        sions. And numerous courts have dismissed conclusory TCPA allegations like Plain-
  17
        tiff’s for failure to state a claim under Rule 12(b)(6). This Court should do the same.
  18
  19          A.     Plaintiff Does Not—And Cannot—Dispute That Only Initiators Of
                     Calls Have TCPA And Do-Not-Call Registry Liability
  20          Plaintiff does not challenge CallFire’s abundant authority holding that only the
  21    initiator of calls can be subject to liability under the TCPA. And this is not surprising,
  22    given that the TCPA itself, the Federal Communications Commission (“FCC”), fed-
  23    eral regulations, and courts within the Ninth Circuit all agree that the TCPA imposes
  24    liability only on initiators. See Mem. of P&A In Supp. of Mot. to Dismiss. at 9, 14–
  25    15 [hereinafter “Memo.”]; see also 47 U.S.C. § 227(b)(1)(A) (“It shall be unlawful
  26    for any person . . . to make any call . . . .”) (emphasis added); Rules and Regulations
  27    Implementing the Telephone Consumer Protection Act of 1991, Declaratory Ruling
  28    and Order, 30 FCC Rcd. 7961, 7980 (2015) [hereinafter TCPA Declaratory Ruling];
                                                             CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
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    1   47 C.F.R. § 64.1200(c). Therefore, because CallFire does not initiate any calls, it
    2   does not have TCPA or do-not-call registry liability, and Plaintiff’s Complaint should
    3   be dismissed in its entirety on this basis alone.
    4         B.     CallFire Neither Initiates Calls Itself Nor Has A High Degree Of
                     Involvement In Placing Calls
    5
              Seemingly recognizing that CallFire does not initiate calls, Plaintiff pivots to
    6
        arguing that CallFire had sufficient involvement in placing the text messages at issue
    7
        so as to incur TCPA liability. That claim, however, is entirely without merit.
    8
              The FCC has ruled that a platform provider “does not make or initiate a text
    9
        when [its customer] merely uses the [software]” to initiate messages that the customer
  10
        or user controls. TCPA Declaratory Ruling ¶ 25, at 7978. Thus, a provider, like
  11
        CallFire, is not an “initiator” where the “app user determines whether to send the . . .
  12
        messages,” and the platform provider “does not control the recipients, timing, or con-
  13
        tent” of the messages. Id. ¶¶ 31, 33, at 7981–82 (emphasis added). As Plaintiff ad-
  14
        mits, a court in this very district has applied this FCC definition to CallFire and found
  15
        that CallFire is not an initiator. See Opp. at 5; Kauffman v. CallFire, Inc., 141 F.
  16
        Supp. 3d 1044, 1047 (S.D. Cal. 2015) (Kauffman II). Oddly, Plaintiff cites Kauffman
  17
        II for the proposition that a defendant can be liable under the TCPA if it is “so in-
  18
        volved in placing the call as to be deemed to have initiated it.” Opp. at 5 (quoting
  19
        Kauffman II, 141 F. Supp. 3d at 1047)). But Plaintiff conveniently omits material
  20
        language from the very same paragraph in Kauffman II: “[W]hen a text messaging
  21
        service requires its customers to determine the content, timing, and recipients of a
  22
        text message, then the service has not initiated the message.” Kauffman II, 141 F.
  23
        Supp. 3d at 1047–48 (citing TCPA Declaratory Ruling at 7983–84).
  24
              Kauffman II is dispositive here. CallFire merely provides a communications
  25
        transmission service, and mere transmission is not actionable under the TCPA. Its
  26
        customers initiate the messages that CallFire transmits. CallFire does not directly
  27
        initiate messages. See Compl. ¶ 36 (CallFire “transmitted” messages). Plaintiff
  28
                                                            CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
                                                               OPPOSITION TO MOTION TO DISMISS
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    1   pleads no factual allegations to suggest that CallFire had any involvement in “select-
    2   ing the content, timing, and recipients” of the text messages he received, as is re-
    3   quired for TCPA liability. Kauffman II, 141 F. Supp. 3d at 1050. Indeed, the Kauff-
    4   man II court held, as a matter of law, that CallFire’s involvement in sending mes-
    5   sages is insufficient to incur TCPA liability. See id. This Court should reach the
    6   same legal conclusion here.
    7          C.     Courts Routinely Resolve Whether A Party Is An Initiator At The
                      Motion To Dismiss Stage, And Plaintiff Has Offered No Reason
    8                 Why This Court Should Decline To Do So Here
    9          Plaintiff urges this Court to let him proceed to costly and invasive discovery,
  10    but he wholly fails to address the fact that courts regularly dismiss TCPA claims for
  11    failing to plead initiation at the motion to dismiss stage. In its Memorandum, CallFire
  12    cited several cases in which courts dismissed TCPA complaints at the 12(b)(6) stage
  13    precisely because the defendant was not an initiator. See Memo. at 9; see also
  14    Naiman v. Freedom Forever, LLC, No. 19-cv-00256, 2019 WL 1790471, at *3 (N.D.
  15    Cal. Apr. 24, 2019); Meeks v. Buffalo Wild Wings, Inc., No. 17-cv-07129, 2018 WL
  16    1524067 (N.D. Cal. Mar. 28, 2018), appeal pending; McKenna v. WhisperText, No.
  17    5:14-cv-00424, 2015 WL 5264750 (N.D. Cal. Sept. 9, 2015). Instead of addressing
  18    this authority head on, Plaintiff falls back on the argument that this Court must take
  19    all of his factual assertions as true. See Opp. at 8–9. On this point, Plaintiff is correct.
  20    Unfortunately for Plaintiff, however, the so-called factual assertions on which he re-
  21    lies are nothing more than legal conclusions, to which this Court is obligated to give
  22    no weight. See Adams v. Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004) (“[C]onclu-
  23    sory allegations of law and unwarranted inferences are insufficient to defeat a motion
  24    to dismiss.”); Opp. at 8–9 (admitting that a court is “not bound to accept legal con-
  25    clusions in a complaint”); Memo. at 7.
  26           The instances of legal conclusions masquerading as facts throughout Plain-
  27    tiff’s Opposition are many. For example, to establish “actual notice of an illegal use,”
  28    Plaintiff recites the legal conclusion that CallFire was “fully aware” of its customers’
                                                              CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
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    1   actions. Rinky Dink Inc. v. Electronic Merchant Systems, No. C13-1347-JCC, 2015
    2   WL 778065, at *4 (W.D. Wash. Feb. 24, 2015); Opp. at 9. To show initiation, Plain-
    3   tiff regurgitates the formulaic elements of an initiation claim. See, e.g., Opp. at 9
    4   (claiming that the messages at issue had “CallFire’s approval and ratification”); see
    5   also Meeks, 2018 WL 1524067, at *5 (“Though the precise details of the agency
    6   relationship need not be pleaded to survive a motion to dismiss, sufficient facts must
    7   be offered to support a reasonable inference that an agency relationship existed.”).
    8   Plaintiff also vaguely claims that CallFire “received a benefit” from the messages
    9   Plaintiff allegedly received. Opp. at 9. Nowhere in his Complaint or Opposition,
  10    however, does Plaintiff identify the facts on which these legal conclusions are based.
  11          Indeed, the only factual allegations Plaintiff proffers to support his claim
  12    against CallFire are: (1) an unsubstantiated claim that the messages he received came
  13    from a CallFire number, and (2) the fact that he received two texts confirming his
  14    opt-out that contained the phrase “CallFire Alerts.” See Opp. at 9. These two bare
  15    allegations are simply insufficient to survive CallFire’s Motion to Dismiss.
  16          With regard to the first allegation, Plaintiff offers nothing to tie the messages
  17    to CallFire, other than his bald assertion1 that the number belonged to CallFire. See
  18    Opp. at 9; Compl. ¶ 15. Plaintiff’s speculation on this point cannot pass muster under
  19    Rule 12(b)(6). In fact, the Southern District of California has addressed the suffi-
  20    ciency of nearly identical allegations against CallFire, and it held that such allega-
  21    tions were “insufficient to state a claim under the TCPA.” Kauffman v. CallFire,
  22    Inc., No. 3:14-cv-1333, 2014 WL 12778843, at *2 (S.D. Cal. Sept. 9, 2014) (Kauff-
  23    man I); see also Memo. at 10. The failed Kauffman I complaint, much like Plaintiff’s
  24    Complaint here, merely “state[d] that some of the messages came from a number that
  25    belongs to [CallFire].” Kauffman I, 2014 WL 12778843, at *2. Like the Kauffman
  26
        1
         Despite his apparent certainty that the shortcode belongs to CallFire, in the very
  27    next page of his Opposition—and in a thinly veiled attempt to get to discovery—
        Plaintiff contradicts himself and claims that “ownership of the shortcode may only
  28    be made certain through discovery.” Opp. at 10.
                                                           CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
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    1   I court, this Court should conclude that Plaintiff’s unwarranted inference that the
    2   shortcode belongs to CallFire is insufficient to satisfy Plaintiff’s burden of pleading.
    3         Plaintiff’s second allegation that he received messages containing the phrase
    4   “CallFire Alerts” is insufficient for the same reasons. Compl. ¶ 18. In Kauffman I,
    5   “[p]laintiff’s complaint allege[d] that he received unwanted text messages and that,
    6   on information and belief, [CallFire] was the sender of these messages.” Kauffman,
    7   2014 WL 12778843, at *2. The Kauffman I Court rejected these allegations as in-
    8   sufficient to satisfy the plaintiff’s burden of pleading. See id. The same result is
    9   necessary here. The fact that the messages Plaintiff allegedly received mentioned
   10   CallFire in no way compels the conclusion that CallFire initiated those messages. In
   11   fact, it is more plausible that the messages might reference CallFire because CallFire
   12   hosts a platform that transmits—but does not initiate—those messages. Much like
   13   the failed claims in Kauffman I, Plaintiff’s allegations, “without further elaboration,
   14   are insufficient to state a claim under the TCPA.” Id.
   15   II.   PLAINTIFF DOES NOT—AND CANNOT—ALLEGE THAT CALL-
              FIRE IS AN ATDS
   16
              Even if Plaintiff could plead that CallFire initiates text messages, his Com-
   17
        plaint should still fail for the independent reason that CallFire is not, and does not
   18
        use, an ATDS. In his Opposition, Plaintiff attempts to bolster his ATDS allegations
   19
        by pleading new facts, but this Court cannot consider these late allegations when
   20
        ruling on CallFire’s Motion to Dismiss. Even if the Court were to consider those
   21
        allegations, however, CallFire is not, and does not use, an ATDS as a matter of law,
   22
        and thus Plaintiff’s Complaint must still be dismissed.
   23
              A.     Plaintiff Improperly Introduces New Allegations In An Attempt
   24                To Save His ATDS Claim
   25         As CallFire demonstrated in its Memorandum, Plaintiff’s Complaint merely
   26   parroted the statutory elements of an ATDS, without pleading any facts to support
   27   his legal conclusions. See Memo. at 17. Numerous courts—including courts in this
   28   district—have dismissed such allegations as legally insufficient. See id. at 17–18;
                                                            CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
                                                               OPPOSITION TO MOTION TO DISMISS
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    1   see also Kauffman I, 2014 WL 12778843, at *2; Hulsey v. Peddle, LLC, CV 17-3843,
    2   2017 WL 8180583 (C.D. Cal. Oct. 23, 2017).
    3         Hulsey is instructive. In that case, the plaintiff—who was represented by
    4   Plaintiff’s counsel here—merely recited the statutory elements of an ATDS in his
    5   complaint. The court dismissed the plaintiff’s claims because his “allegations con-
    6   sist[ed] solely of paraphrases of the definition of ATDS as set forth in the TCPA.”
    7   Hulsey, 2017 WL 8180583, at *2. Here, Plaintiff’s rote recitation of the elements of
    8   an ATDS claim should be dismissed for the very same reasons.
    9         In his Opposition, Plaintiff attempts to distinguish Hulsey by arguing that the
   10   court there dismissed the complaint because the plaintiff in that case provided her
   11   number on a website, which would suggest direct targeting inconsistent with the use
   12   of an ATDS. See Opp. at 16. This reading of Hulsey, however, is directly contra-
   13   dicted by the court’s holding in that case. The Hulsey court unequivocally stated, as
   14   a basis for its decision, that it “agree[d]” with the defendant that the plaintiff’s ATDS
   15   allegations were improperly “conclusory in nature.” Hulsey, 2017 WL 8180583, at
   16   *2. The direct targeting argument was merely a secondary and alternative reason for
   17   the Hulsey court’s decision to dismiss the case. Id.
   18         Apparently recognizing the deficiencies of his ATDS allegations, Plaintiff has
   19   attempted to raise new allegations in his Opposition that are not contained in his
   20   Complaint. For example, Plaintiff claims in his Opposition that he received “generic
   21   and impersonal” text messages. Opp. at 14. Nowhere in his Complaint does Plaintiff
   22   allege that the messages were “generic and impersonal.” His Opposition also states
   23   that the messages he allegedly received described “sales that could have been (and
   24   likely were) offered to countless other recipients with no change to the message.”
   25   Opp. at 14. Plaintiff’s Complaint contains no similar claims. Finally, Plaintiff’s
   26   Opposition contends that he “received [opt out] replies that were delivered immedi-
   27   ately.” Opp. at 14. The Complaint does not, however, mention an immediate deliv-
   28   ery of the messages confirming Plaintiff’s opt out. In fact, the screenshots of the
                                                            CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
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    1   messages—which Plaintiff included his Complaint—do not even contain a time
    2   stamp from which the timing of the opt outs can be inferred. See Compl. ¶ 18.
    3         Despite these late attempts to bolster Plaintiff’s Complaint, a court cannot, at
    4   the 12(b)(6) stage, consider factual allegations that are raised in an opposition brief,
    5   but not in the complaint. See Naiman, 2019 WL 1790471, at *3. “Thus, the addi-
    6   tional factual allegations in Plaintiff’s opposition do not cure the deficiencies in the
    7   complaint,” and this Court should not consider Plaintiff’s novel allegations when rul-
    8   ing on CallFire’s Motion to Dismiss. Id.
    9         B.     CallFire Is Not An ATDS As A Matter Of Law
   10         Regardless of Plaintiff’s new ATDS allegations raised for the first time in his
   11   Opposition, CallFire is not an ATDS as a matter of law. As CallFire noted in its
   12   Memorandum, courts across the country, including in the Ninth Circuit, have held
   13   that CallFire is not an ATDS as a matter of law. See Memo. at 18; see also Luna v.
   14   Shac, LLC, 122 F. Supp. 3d 936, 940–42 (N.D. Cal. 2015) (holding that CallFire is
   15   not an ATDS); Ramos v. Hopele of Fort Lauderdale, LLC, 334 F. Supp. 3d 1262,
   16   1275 (S.D. Fla. 2018) (“[T]he EZ-Texting [(CallFire)] system used by [the initiator]
   17   was not an ATDS.”); Duran v. La Boom Disco, Inc., No. 17-cv-6331, 2019 WL
   18   959664, at *4–*11 (E.D.N.Y. Feb. 25, 2019). Indeed, no court to consider the issue
   19   has ever held CallFire to be an ATDS. See Memo. at 18.
   20         In his Opposition, Plaintiff makes three attempts to distinguish this case. Each
   21   of Plaintiff’s arguments is unavailing. First, Plaintiff contends that, because these
   22   courts all found CallFire not to be an ATDS at the summary judgment stage, they
   23   offer no guidance here. See Opp. at 15. Plaintiff appears to forget, however, that
   24   summary judgment requires “no genuine dispute as to any material fact” and that the
   25   moving party “is entitled to judgment as a matter of law.” Fed. R. Civ. Pro. 56(a).
   26   This means that the courts in Luna, Ramos, and Duran all held CallFire not to be an
   27   ATDS as a matter of law. Therefore, regardless of the facts that Plaintiff hopes to
   28   uncover through discovery in this case, CallFire is not an ATDS as a matter of law,
                                                            CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
                                                               OPPOSITION TO MOTION TO DISMISS
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    1   and thus his claims cannot possibly succeed.
    2          Second, Plaintiff contends that none of the cases CallFire cites postdate Marks
    3   v. Crunch San Diego, LLC, 904 F.3d 1041, 1052 (9th Cir. 2018). See Opp. at 15.
    4   Marks, however, does not alleviate Plaintiff’s burden of pleading facts sufficient to
    5   state a claim. See Memo. at 18–19. Plaintiff does not—and cannot—challenge that
    6   rule, regardless of the Ninth Circuit’s holding in Marks. Plaintiff’s ATDS claim thus
    7   remains legally insufficient, Marks or not.
    8          Third, Plaintiff makes the bizarre argument that, because he has alleged that
    9   he received messages confirming his opt out—a fact that was not at issue in Luna,
   10   Ramos, and Duran—he has satisfied his ATDS burden. See Opp. at 15. In other
   11   words, Plaintiff seems to think that his “receipt of automated confirmatory messages”
   12   indicates the use of an ATDS and distinguishes this case from the numerous other
   13   cases holding that CallFire is not an ATDS. Opp. at 15. Unfortunately for Plaintiff,
   14   the fact that he received messages confirming his opt out has no bearing on whether
   15   CallFire is an ATDS.2
   16          Plaintiff has wholly failed to plead any facts sufficient to support a finding that
   17   CallFire is an ATDS, and this failure alone requires the dismissal of his Complaint.
   18   III.   AS A COMMON CARRIER, CALLFIRE IS IMMUNE FROM TCPA
               LIABILITY
   19
               Plaintiff makes little effort to challenge CallFire’s status as a common carrier
   20
        that is immune from TCPA liability. Instead, he offers that the Court can assess this
   21
        question after subjecting CallFire to costly discovery. But discovery is not necessary
   22
        2
          Plaintiff also appears to forget that, regardless of whether an ATDS is used, to incur
   23   TCPA liability, an offender must initiate the message, which CallFire does not do.
        See Memo. at 13–14; see also Kauffman II, 141 F. Supp. 3d at 1047. Even assuming
   24   arguendo that CallFire did initiate the messages containing the phrase “CallFire
        Alerts,” those messages served only to confirm Plaintiff’s alleged opt out, and they
   25   are accordingly not actionable under the TCPA as a matter of law, regardless of
        whether the initial messages were sent without Plaintiff’s consent. See Memo. at 16;
   26   see also Derby v. AOL, Inc., 15–cv–00452, 2015 WL 3477658, at *5–*7 (N.D. Cal.
        Jun. 1, 2015). Plaintiff does not—and indeed cannot—challenge this fact. And even
   27   if CallFire had both initiated the confirmatory opt out messages and sent them using
        an ATDS—which it did not—Plaintiff still could not show that the other messages
   28   he received were sent with an ATDS or initiated by CallFire.
                                                             CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
                                                                OPPOSITION TO MOTION TO DISMISS
                                                    9                        2:19-cv-02874-SVW-MAA
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    1   to resolve this issue. Plaintiff himself cites to authority that clearly held CallFire to
    2   be a common carrier immune from TCPA liability. See Opp. at 11. Apparently rec-
    3   ognizing that CallFire is, indeed, a common carrier, Plaintiff next attempts to argue
    4   that CallFire is exempt from common carrier immunity, either because it is highly
    5   involved in placing calls or because it had actual notice of an illegal use of its ser-
    6   vices. These exceptions to common carrier immunity, however, do not apply here,
    7   and Plaintiff’s arguments on this point necessarily fail.
    8         A.     CallFire Is A Common Carrier As A Matter of Law
    9         Nothing uncovered during discovery could alter the conclusion that CallFire is
   10   a common carrier—and is thus immune from TCPA liability—as a matter of law.
   11   “‘[U]sers of [telecommunications] services, not the carriers providing the services,
   12   [are] held liable’ under the TCPA.” Kauffman II, 141 F. Supp. 3d at 1048 (alterations
   13   in original) (quoting In the Matter of Rules and Regulations Implementing the TCPA
   14   of 1991, 7 FCC Rcd. 8752, 8776 n.83 (1992)); see also Linlor v. Five9, Inc., No. 17-
   15   CV-00218, 2017 WL 2972447 (S.D. Cal. July 12, 2017).
   16         As noted in its Memorandum, CallFire satisfies both prongs of the common
   17   carrier test. See Memo. at 20; see also Opp. at 5. First, CallFire offers its telephone
   18   service indiscriminately and on generally applicable terms to anyone that registers on
   19   its publicly available websites. See Memo. at 20. Second, CallFire allows its sub-
   20   scribers to transmit content of their own design and choosing. See id. Plaintiff does
   21   not challenge these facts; instead he simply insists that discovery is “require[d]” to
   22   make that determination. Opp. at 6. What Plaintiff hopes to find during discovery is
   23   unclear. Indeed, the cases Plaintiff cites for the proposition that discovery is required
   24   have all either held CallFire to be a common carrier as a matter of law or recognized
   25   that CallFire would not have TCPA liability in any event. See Opp. at 5–6 (citing
   26   Kauffman II, Luna, and Couser); Kauffman II, 141 F. Supp. 3d at 1050 (“By demon-
   27   strating that it is a [common] carrier that did not initiate the text messages Plaintiff
   28   received, Defendant CallFire has negated an essential element of Plaintiff’s case.”);
                                                            CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
                                                               OPPOSITION TO MOTION TO DISMISS
                                                   10                       2:19-cv-02874-SVW-MAA
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    1   Luna, 122 F. Supp. 3d at 941 (holding CallFire not to be an ATDS); Couser v. Pre-
    2   Paid Legal Services, Inc., 994 F. Supp. 2d 1100, 1106 (S.D. Cal. 2014) (“The Court
    3   strongly senses that [CallFire] has the better arguments in this case.”). While those
    4   cases did generally reach the summary judgment stage, Plaintiff’s allegations here
    5   are factually analogous—and materially indistinguishable—from the allegations in
    6   Kauffman II, Luna, and Couser, all of which were resolved in CallFire’s favor. Plain-
    7   tiff should not be permitted to force CallFire to relitigate the same baseless TCPA
    8   claims that court after court has already dismissed as insufficient as a matter of law.3
    9   This Court should accordingly dismiss Plaintiff’s cookie-cutter Complaint for the
   10   reasons articulated by the courts in Kauffman II, Luna, and Couser.
   11         B.     None Of The Exceptions To The Rule Against Common Carrier
                     Liability Apply Here
   12
              Perhaps recognizing that CallFire is indisputably a common carrier, Plaintiff
   13
        spends much of his Opposition attempting to argue that CallFire is subject to an ex-
   14
        ception to common carrier TCPA immunity. See Opp. at 5–8. The FCC has long
   15
        exempted common carriers from liability for their subscribers’ messages, unless they
   16
        have a “high degree of involvement” in sending the messages or “actual notice” of
   17
        the illegal use of their services. In the Matter of Enforcement of Prohibitions Against
   18
        the Use of Common Carriers for the Transmission of Obscene Materials, Memoran-
   19
        dum Opinion, Declaratory Ruling and Order, 2 FCC Rcd. 2819, ¶ 9, at 2820 (1987)
   20
        [hereinafter Common Carrier Immunity Order]. Unfortunately for Plaintiff, none of
   21
        these exceptions apply here.
   22
              First, Plaintiff’s claim that CallFire had a high degree of involvement in send-
   23
        ing the messages he received is unsupported by the allegations in his Complaint. And
   24
        this is not surprising, because courts have routinely held, as a matter of law, that
   25
        3
         In fact, if Plaintiff were serious about prosecuting his TCPA claims, he would pro-
   26   ceed against the CallFire customer who actually initiated the messages he allegedly
        received. If, in the course of litigating those claims, Plaintiff were to discover facts
   27   sufficient to suggest that CallFire could be liable, then he could re-file his claims
        against CallFire. But nothing in Plaintiff’s Complaint as it currently stands could
   28   possibly support a TCPA claim against CallFire.
                                                            CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
                                                               OPPOSITION TO MOTION TO DISMISS
                                                   11                       2:19-cv-02874-SVW-MAA
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    1   CallFire does not have a sufficient level of involvement in sending messages to be
    2   subject to this exception to common carrier immunity. See supra Section I.B.
    3          Second, Plaintiff’s claim that CallFire had actual notice of allegedly illegal
    4   uses of its services is entirely without merit. Plaintiff suggests that the mere fact that
    5   he received a confirmatory opt out message containing the phrase “CallFire Alerts”
    6   shows that CallFire had actual notice that its customers were using its services ille-
    7   gally. See Opp. at 7. That claim defies logic. Plaintiff proffers no facts to support
    8   his belief that CallFire knows who provides or revokes consent to receive messages
    9   from its customers and who does not. And this is not surprising, because it is Call-
   10   Fire’s customers—as the initiators of their own messages—who receive consent and
   11   opt out requests, not CallFire.
   12          Plaintiff claims that he “never provided his phone number” to CallFire, but he
   13   curiously fails to address whether he ever provided his phone number to any of Call-
   14   Fire’s customers. Opp. at 16; see also Compl. ¶ 19. CallFire does not collect phone
   15   numbers; its customers do. Thus, the common sense conclusion from the face of the
   16   Complaint is that Plaintiff gave consent to several of CallFire’s customers—includ-
   17   ing a home warranty provider and a health insurer—to receive text messages. When
   18   Plaintiff allegedly opted out of messages from one of these CallFire customers, he
   19   continued to receive messages from one of CallFire’s other customers via a shared
   20   shortcode. Regardless of whether these continued messages were lawful, CallFire
   21   would not know whether Plaintiff ever gave or revoked his consent to receive mes-
   22   sages. The “actual notice” exception to common carrier TCPA immunity accord-
   23   ingly does not apply. See also Common Carrier Immunity Order ¶ 9, at 2820 (“[I]t
   24   is unlikely that a telephone common carrier will ever possess sufficient knowledge
   25   of an illegal use of its facilities to be held liable [therefor]. . . .” (emphasis added)).
   26
        ///
   27   ///
   28
                                                              CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
                                                                 OPPOSITION TO MOTION TO DISMISS
                                                     12                       2:19-cv-02874-SVW-MAA
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    1                                     CONCLUSION
    2         For each of the foregoing reasons, CallFire, Inc. respectfully requests that this
    3   Court dismiss Plaintiff’s Complaint in its entirety and with prejudice.
    4
        Dated: July 1, 2019                            Respectfully submitted,
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    7
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                                                           CALLFIRE, INC.’S REPLY TO PLAINTIFF’S
                                                              OPPOSITION TO MOTION TO DISMISS
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